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DISTRICT OF DELAWARE
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      23-10554

      Phoeno Wine Company, Inc.




      Case Type :                       bk
      Case Number :                     23-10554
      Case Title :                      Phoeno Wine Company, Inc.
      Judge :                           Karen B. Owens
      Courtroom :                       6th Floor Courtroom 3, Wilmington, DE
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